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 1                                                                THE HONORABLE JOHN H. CHUN

 2
                               UNITED STATES DISTRICT COURT
 3                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 4

 5
     JENNIFER CARRERA, CAROL
 6   ANDERSON, and BECKY JO PALMER,
     individually and on behalf of all others              Case No. 2:24-cv-01408-JHC
 7   similarly situated,
                                                           NOTE ON MOTION CALENDAR:
 8                  Plaintiffs,
        v.                                                 January 14, 2025
 9
     WHITEPAGES, INC.,
10
                    Defendant.
11

12
                            DECLARATION OF TYLER K. SOMES
13                       IN SUPPORT OF PLAINTIFFS’ OPPOSITION
                    TO DEFENDANT’S MOTION TO COMPEL ARBITRATION
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     DECLARATION IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO                         HEDIN LLP
25   DEFENDANT’S MOTION TO COMPEL ARBITRATION                                    1395 BRICKELL AVE.,
     CASE NO. 2:24-CV-01408-JHC                                                  SUITE 1140
26                                                                               MIAMI, FLORIDA 33131
                                                                                 PHONE: (305) 357-2107
27
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 1             I, Tyler K. Somes, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746 and

 2   based on my own personal knowledge, that the following statements are true:

 3             1.     I am an attorney at the law firm Hedin LLP and a member in good standing of the

 4   District of Columbia Bar, and I submit this declaration in support of Plaintiffs’ Opposition to

 5   Defendant’s Motion to Compel Arbitration in the above-captioned action.

 6             2.     From 2021 to 2022, I served as law clerk to the Honorable Richard C. Wesley,

 7   Senior Judge on the United States Court of Appeals for the Second Circuit.

 8             3.     Before joining Hedin LLP, I worked for four years at a large commercial law firm

 9   in Washington, DC and Austin, Texas, where I represented plaintiffs and defendants in a range

10   of commercial litigation matters.

11             4.     I joined Hedin LLP in August 2024.

12             5.     Frank Hedin is the owner of Hedin LLP.

13             6.     I represent Plaintiffs Jennifer Carrera, Carol Anderson, and Becky Jo Palmer

14   (“Plaintiffs”) in the above-captioned action.

15             7.     On September 5, 2024, Plaintiffs filed this action against Defendant Whitepages,

16   Inc. stating one count of misappropriation under four different states’ right of publicity statutes.

17   See ECF No. 1.

18             8.     On November 8, 2024, Defendant filed a motion to compel arbitration. See ECF

19   No. 16.

20             9.     On November 5, 2024, I accessed Defendant’s website www.whitepages.com and

21   took the screenshots attached as Exhibit A.

22             10.    The screenshots attached as Exhibit A depict the consecutive steps of my

23   navigation through Defendant’s website www.whitepages.com.

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     DECLARATION IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO                          HEDIN LLP
25   DEFENDANT’S MOTION TO COMPEL ARBITRATION                                     1395 BRICKELL AVE.,
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                                                                                  MIAMI, FLORIDA 33131
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 1          11.     I accessed www.whitepages.com by entering a query on www.google.com for the

 2   words “frank hedin whitepages.” The first result to the query was a link to the website

 3   www.whitepages.com/name/frank-hedin. While accessing and navigating the website, I was

 4   never confronted with a “pop-up” referencing Defendant’s Terms of Service. On the “checkout”

 5   page, I did not check the box indicating assent to the Terms of Service.

 6          12.     The screenshots attached as Exhibit A show that an individual can access internal

 7   pages on www.whitepages.com without ever encountering the site’s home page, bearing witness

 8   to a “pop-up” referencing the Terms of Service, or manifesting assent to the Terms of Service.

 9          13.     I declare, under penalty of perjury, pursuant to the laws of the United States of

10   America that the foregoing is true and correct.

11

12          Executed this 26th day of December, 2024, in Honeoye Falls, New York.

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14                                                               /s/ Tyler K. Somes
                                                                 Tyler K. Somes
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     DECLARATION IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO                        HEDIN LLP
25   DEFENDANT’S MOTION TO COMPEL ARBITRATION                                   1395 BRICKELL AVE.,
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